        Case 3:18-cr-03677-W Document 108 Filed 11/19/19 PageID.847 Page 1 of 4


 1 DAVID D. LESHNER
 2 Attorney for the United States
   Acting under Title 28, U.S.C. Section 515
 3 EMILY W. ALLEN (Cal. Bar No. 234961)
 4 W. MARK CONOVER I (Cal. Bar No. 236090)
   PHILLIP L.B. HALPERN (Cal. Bar No. 133370)
 5 Assistant United States Attorneys
 6 U.S. Attorney’s Office
   880 Front Street, Room 6293
 7 San Diego, CA 92101
 8 Telephone: (619) 546-6964
   Email: Phillip.Halpern@usdoj.gov
 9
10 Attorneys for the United States
11                            UNITED STATES DISTRICT COURT
12                         SOUTHERN DISTRICT OF CALIFORNIA
13
      UNITED STATES OF AMERICA,                 Case No. 18CR3677-W
14
15          v.                                  UNITED STATES’ REPLY BRIEF TO
                                                MOTION TO DISQUALIFY HIGGS
16    DUNCAN D. HUNTER (1),                     FLETCHER & MACK FROM
17                                              REPRESENTING THE DEFENDANT
                   Defendant.
18                                              Date: November 25, 2019
19                                              Time: 10:30am

20
           Faced with the unassailable conclusion that defense counsel must be disqualified
21
     where there is an actual conflict (i.e., joint representation of witnesses that are adverse to
22
     the defendant), Hunter sensibly argues that no actual conflict exists.         See Hunter’s
23
     Opposition (Doc. 107) at 1, 4-5. Unfortunately, this argument appears tenable only because
24
     Hunter selectively quotes a mere half dozen sentences out of more than 300 pages of grand
25
     jury testimony. In other words, Hunter simply ignores the entirety of the testimony that
26
     proves inconvenient and does not even try to address the numerous examples of adverse
27
     testimony set forth in the government’s Motion to Disqualify (Doc. 105) at 3-6, 12-14.
28
        Case 3:18-cr-03677-W Document 108 Filed 11/19/19 PageID.848 Page 2 of 4



 1         Such maneuvers result in Hunter quoting Ms. Hardison’s testimony that “[she] did
 2 not feel that [Congressman Hunter] was really paying attention to the financial part [of the
 3 campaign],” see Hardison GJ at 51, while ignoring her testimony that Hunter was aware
 4 that Margaret was using her campaign credit card for personal expenses and that it was a
 5 crime to do so. Id. at 78-79. Similarly, Hunter “cherry picks” a few lines suggesting Mr.
 6 Young was principally concerned with Margaret’s spending, see Young GJ at 143-44, but
 7 ignores the testimony that Young told Hunter that Margaret was spending too much money
 8 on items that would raise a red flag with auditors who could review the FEC reports. See
 9 e.g., Young GJ at 88-89. Hunter again adopts this tactic with Joe Browning by seizing on
10 two words where he indicated that Margaret was “in control,” see Browning GJ at 23,1 but
11 omitting damaging testimony regarding, among other things, multiple personal vacations
12 financed with the Campaign’s credit cards. Id. at 47-48 and 55-56.
13         Certainly, portions of all three transcripts might, in the hands of experienced defense
14 counsel, be used to argue that Hunter was unaware of his wife’s admitted theft of campaign
15 funds. On the other hand, it is undeniable that there are other—far more significant
16 portions—of the grand jury transcripts that demonstrate Hunter was all too painfully aware
17 of (and even encouraged) his wife’s improprieties. Those improprieties enabled the Hunters
18 to maintain their comfortable standard of living despite their staggering debt.
19         This case—where the evidence consists of voluminous, adverse grand jury testimony
20 bearing on the exact question of Hunter’s guilt—presents the most profound and striking
21 example of an actual conflict of interest unearthed in any prior recorded case. This
22 conclusion cannot be changed by Hunter’s refusal to address the adverse grand jury
23
24
25
           1
           Hunter also fails to acknowledge the inapposite context: Browning was not testifying
26 to Margaret being in control of the family or campaign finances, but only to being “in
27 control” of their personal relationship and noting that the Hunters had significant marital
   disagreements. See Browning GJ at 23-24.
28

                                                  2
        Case 3:18-cr-03677-W Document 108 Filed 11/19/19 PageID.849 Page 3 of 4



 1 testimony or by his unsupported claim that the “alleged conflict is at most academic, not
 2 actual.” Hunter Opposition at 6.2
 3         Hunter attempts to side-step the obvious need to disqualify Higgs by arguing that the
 4 United States is trampling upon Hunter’s constitutional right to counsel of his choice.
 5 Hunter Opposition at 3 (citing United States v. Rivera-Corona, 618 F.3d 976, 979 (9th Cir.
 6 2010)).     He neglects to mention, though, that the right to counsel of choice is
 7 “[c]ircumscribed in a number of important respects” and must be balanced against other
 8 important interests in the judicial system such as the Sixth Amendment right to conflict-free
 9 counsel. Wood v. Georgia, 450 U.S. 261, 271 (1981); United States v. Morrison, 449 U.S.
10 361, 365 (1981); United States v. Moore, 159 F.3d 1154, 1157 (9th Cir. 1998).3
11 Significantly, he fails to mention that the Ninth Circuit in Rivera-Corona specifically
12 acknowledged that “a defendant may not ‘demand that a court honor his waiver of conflict-
13 free representation.’” Id. at 979 (citing United States v. Gonzalez-Lopez, 548 U.S. 140, 152
14 (2006).
15         Hunter is of course free to choose any of the more than 100,000 practicing trial
16 attorneys in California who are not faced with an actual conflict. Yet he selected one of
17 only four California lawyers that represent likely trial witnesses. And, although Hunter
18 knew of the government’s position for at least a month, for some reason he delayed filing
19 Mr. Pfingst’s appearance and caused the hearing to be set less than two months before trial.
20
21
           2
            Despite its absurdity, Hunter is forced to maintain this unsupportable position
22 because the case law makes it perfectly clear that once this Court finds the presence of an
23 actual conflict, counsel must be disqualified, and no quantity of waivers, ethical walls, or
   substitute “cross examination” can cure this problem. See United States Motion to
24 Disqualify at 14-16.
25        3
            See also Wheat, 486 U.S. at 153 (the “essential aim of the [Sixth] Amendment is to
26 guarantee an effective advocate,” not the attorney preferred by defendant.) A court is
   entitled to balance a defendant’s right to retain counsel of his or her choice against the
27
   interests of judicial integrity and efficiency. Id. at 162 (court could deny defendant’s choice
28 of attorney to maintain integrity of judicial system when defendant selected an attorney with
   a conflict of interest).
                                                    3
        Case 3:18-cr-03677-W Document 108 Filed 11/19/19 PageID.850 Page 4 of 4



 1        Finally, the government finds distasteful Hunter’s attempts to argue that if the Court
 2 does not allow him to maintain his conflicted counsel it will likely commit structural error
 3 and/or be required to further delay the trial. The removal of a conflicted defense attorney
 4 who has only been retained for a matter of a few weeks is clearly not structural error. It is
 5 not only the preferable decision, but one that the Supreme Court has made clear will not be
 6 questioned by reviewing courts. Wheat, 486 U.S. at 162 (“where a court justifiably finds
 7 an actual conflict of interest, there can be no doubt that it may decline a proffer of waiver,
 8 and insist that the defendants be separately represented.”). And Hunter still has four
 9 attorneys in his defense team (including a respected former United States Attorney), three
10 of whom have been ably representing him for more than two years.
11        For the foregoing reasons, the United States respectfully requests that the Court
12 disqualify Mr. Pfingst and the law firm Higgs Fletcher & Mack from any further
13 representation of Duncan Hunter.
14        DATED: November 19, 2019.
                                                   Respectfully submitted,
15
16                                                 DAVID LESHNER
                                                   Attorney for the United States
17
18
19                                                 Phillip L.B. Halpern
                                                   EMILY W. ALLEN
20                                                 W. MARK CONOVER I
21                                                 PHILLIP L.B. HALPERN
                                                   Assistant U.S. Attorneys
22
23
24
25
26
27
28

                                                  4
